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                                         Jeremy A. Lieberman
                                           Managing Partner

VIA ECF                                                                        April 29, 2022

The Honorable Theodore D. Chuang
U.S. District Court for the District of Maryland
6500 Cherrywood Lane, Suite 245A
Greenbelt, Maryland 20770


                 Re:    In Re 2U, Inc. Securities Class Action, 8:19-cv-03455-TDC (D. Md.)


          Dear Judge Chuang:

        We represent Lead Plaintiff in the above-referenced Action and write to apprise the Court
that the parties have reached an agreement to resolve this litigation. The parties anticipate
finalizing a formal Stipulation of Settlement and attendant documentation over the coming weeks.
Accordingly, we respectfully request that the Court extend the stay entered on February 17, 2022
(ECF No. 220) until June 2, 2022, at which time Plaintiffs anticipate filing a Motion for
Preliminary Approval of the Settlement.


                                                              Respectfully submitted,
                                                              /s/Jeremy A. Lieberman
                                                                Jeremy A. Lieberman

                                                              POMERANTZ LLP
                                                              600 Third Avenue, 20th Floor
                                                              New York, New York 10016
                                                              Telephone: (212) 661-1100
                                                              Facsimile: (212) 661-8665
                                                              jalieberman@pomlaw.com

cc:       All counsel (via ECF)




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